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 AO 91 (Rev. 11/11) Criminal Complaint    (M. Sendek Authorizing)                                          C&W No. 17-047



                                     UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Eastern District of Pennsylvania

                  United States of America                              )
                                v.                                      )
            TRANQUILINO LEON-VASQUEZ,
                                                                        )
                                                                        )
                                                                                Case No.     11- $'O (o
                 alkla "Tranquilino Leon,"
         alkla "Ervin Alexander Vasquez-Rodas,"                         )
                   a/k/a "Ervin Vasquez"                                )
                                                                        )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                        April 1, 2017                in the county of             Philadelphia         in the
      Eastern          District of            Pennsylvania          , the defendant(s) violated:

             Code Section                                                         Offense Description
8 U.S.C. Section 1326(a)                           Tranquilino Leon Vasquez, an alien, and native and citizen of Honduras, who
                                                   had previously been deported from the United States on or about March 18,
                                                   2004, and September 16, 2004, was found in the United States, having
                                                   knowingly and unlawfully reentered the United States without first applying to
                                                   the Attorney General or his successor, the Secretary for the Department of
                                                   Homeland Security, for permisssion to reapply for admission, and without
                                                   receiving in response the express consent to reapply for admission, in
                                                   violation of 8 U.S.C. Section 1326(a).

          This criminal complaint is based on these facts:
See attached affidavit




          if Continued on the attached sheet.



                                                                                         Robert E. Wright, Deportation Officer
                                                                                                   Printed name and title

Sworn to before me and signed in my presence.


Date:~~                              ;;k;/?
City and state:                          Philadelphia, PA                         HON. CAROL SANDRA MOORE WELLS, USMJ
                                                                                                   Printed name and title
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                                                                                        11-S-ot,


                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                        AFFIDAVIT


        1.      I, Robert E. Wright, am a Deportation Officer (DO) of the Department of

Homeland Security under Immigration and Customs Enforcement (ICE). I have been an

Officer with Immigration and Customs Enforcement (ICE) since November of 2009. As

part of my duties, I conduct investigations related to violations of the Immigration and

Nationality Act, specifically foreign-born nationals that have been deported from the

United States and subsequently reentered the United States illegally. I am currently

assigned to the ICE Enforcement and Removal Operations (ERO) Philadelphia,

Pennsylvania Field Office (ICE ERO/PHI) and my duties include investigating violations

of Title 8 of the United States Code ("U.S.C") to include violations of immigration

offenses.

       2.       This affidavit is made in support of a criminal complaint against

Tranquilino LEON-VASQUEZ, also known as "Tranquilino LEON," "Ervin Alexander

VASQUEZ-RODAS," and "Ervin VASQUEZ", (hereinafter "LEON-VASQUEZ"), where

there is probable cause to believe LEON-VASQUEZ, an alien, re-entered the United States

after deportation, in violation of Title 8, United States Code,§ 1326(a).

       3.       On April 1, 2017, Supervisory Detention and Deportation Officer John Rife

received information from the Philadelphia Police Special Victims Unit that LEON-

VASQUEZ had been arrested by Philadelphia Police Department on March 31, 2017 for

offenses Rape, IDSI, Contact with a Minor, Unlawful Restraint, False Imprisonment,




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Indecent Assault, Endangering Welfare, Corruption of Minors, and Simple Assault.

LEON-VASQUEZ, in Philadelphia Corrections custody, was found to be a match to FBI#:

21853DC2.

        4.      On April 1, 2017, SDDO Rife conducted a check in National Crime

Information Center (NCIC) for LEON VAZQUEZ's criminal history, as well as

immigration history. Under the FBI number provided (21853DC2), it was found that

LEON-VASQUEZ had previous encounters with U.S. Immigration and Customs

Enforcement and the U.S. Border Patrol. Further checks in the Enforcement Alien

Removal Module (EARM) were conducted for LEON-VASQUEZ's immigration history

in the United States. LEON-VASQUEZ was issued two alien numbers A# XXX XXX 209

and A# XXX XXX 029. SDDO Rife found that LEON-VASQUEZ had been removed

from the United States under A# XXX XXX 029 on March 18, 2004 and September 16,

2004.

        5.      On April 3, 2017 your affiant received and reviewed the official documents

from Alien File (A File) pertaining to Tranquilino LEON-VASQUEZ. This A File is

maintained in the name of Tranquilino LEON-VASQUEZ and contains this individual's

biographical information, family history, records of encounters with ICE, conviction

documents, photographs and fingerprints. Based on the review of this A File, your affiant

has concluded that it does in fact pertain to the individual in this matter. The A File

reflects the following information relative to this individual:

                a.     LEON-VASQUEZ is a citizen and national of Honduras.




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       b.      This Affidavit and the Complaint to which it is attached correctly

reflect LEON-VASQUEZ's name.

       c.      LEON-VASQUEZ was arrested on October 31, 2003 by the

Philadelphia, PA Police Department and was charged with Rape, Kidnapping Force

Threat Deception, Statutory Sexual Assault, Sexual Assault, Interference with

Custody of Children, Unlawful Restraint, False Imprisonment, Corrupting Minor,

and Indecent Assault. On January 27, 2004, all of the aforementioned charges were

withdrawn in the Court of Common Pleas of Philadelphia County.

       d.      The United States, pursuant to a "Warrant of Removal/Deportation",

removed LEON-VASQUEZ on or about March 18, 2004, through New Orleans,

Louisiana, to Honduras.

       e.      On August 16, 2004, LEON-VASQUEZ was apprehended by the

U.S. Border Patrol at Roma, Texas. At the time of encounter, LEON-VASQUEZ

admitted to illegally entering the United States by wading across the Rio Grande

River. Ultimately, LEON-VASQUEZ was prosecuted for Illegal Entry, in violation

of 8 U.S.C. 1325(a)(l), in the United States District Court, Southern District of

Texas at McAllen, TX. LEON-VASQUEZ pleaded guilty and was sentenced to

serve 10 days incarceration.

       f.      The United States, pursuant to a "Warrant of Removal/ Deportation",

removed LEON-VASQUEZ on or about September 16, 2004, through Harlingen,

Texas to Honduras.




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                  g.    LEON-VASQUEZ has since re-entered the United States on an

       unknown date, and did so without having obtained the advance permission of the

       Attorney General of the United States, or his successor, the Secretary of Homeland

       Security, to reapply for admission.

       6.         A search of ICE databases reveal that LEON-VASQUEZ did not seek

permission of the United States Attorney General, or his successor, the Secretary of the

Department of Homeland Security, to re-enter as required by 8 U.S.C. § 1360(d).

       Based on all of the foregoing, your affiant believes that there is probable cause to

conclude that Tranquilino LEON-VASQUEZ has committed the offense of illegal reentry

into the United States after deportation, in violation of Title 8, United States Code, §

1326(a), and respectfully asks that this Honorable Court issue a warrant ordering his arrest

for such crime.




                                              Deportation 0 1cer
                                              Immigration and Customs Enforcement


SUBSCRIBED TO AND SWORN TO BEFORE ME
THIS 7th DAY OF APRIL 2017.


~~
HON. CAROL SANDRA MOORE WELLS
United States Magistrate Judge
Eastern District of Pennsylvania




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